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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

 Robin Johnson,
                                                              Civil Action No: 3:19-cv-926
            Plaintiff,
                                                                         COMPLAINT
 v.
                                                                DEMAND FOR JURY TRIAL
 Strategic Automotive Servicing, LLC,

            Defendant.


       NOW COMES, Plaintiff ROBIN JOHNSON (“Plaintiff”), by and through her attorney,

SHAWN JAFFER LAW FIRM, PLLC, for her complaint against Defendant STRATEGIC

AUTOMOTIVE SERVICING, LLC (“Defendant”), to wit, for violations 47 U.S.C. § 227 et seq.

of the Telephone Consumer Protection Act (“TCPA”) and the Tex. Fin. Code Ann. § 292 et seq.

of the Texas Debt Collection Act (“TDCA”).

                                PREMLIMINARY STATEMENT

       1.        This is an action for injunctive relief and statutory damages pursuant to 47 U.S.C.

§ 227 et seq. (TCPA) and for injunctive relief, actual damages, and attorney’s fees and costs

pursuant to Tex. Fin. Code Ann. § 292 et seq. of the Texas Debt Collection Act (“TDCA”).

                                   JURISDICTION & VENUE

       2.        This action arises under and is brought pursuant to the TCPA. Subject matter

jurisdiction is conferred upon this Court by 47 U.S.C. § 227, 28 U.S.C. §§ 1331, and 1337.

       3.        This Court has supplemental jurisdiction for any state law claims under 28 U.S.C.

§§ 1367.




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         4.    Venue in this District is proper under 28 U.S.C. §§ 1391(b)(1) because Defendant

maintains its headquarters at 1431 Greenway Dr, Suite 143, Irving, Texas 75038 and also because

a substantial part of the events or omissions giving rise to this claim occurred here.

                                            PARTIES

         5.    Plaintiff is a natural person and an individual residing at 2710 E. Ledbetter Dr.,

Dallas, Texas 75216.

         6.    Plaintiff is a “consumer” meaning an individual who has an alleged consumer debt.

         7.    Defendant is a “person” meaning an individual, partnership, association, joint-stock

company, trust or corporation.

         8.    Defendant is a “creditor” meaning a party, other than a consumer, to a transaction

or alleged transaction involving one or more consumers.

         9.    Defendant engaged in “debt collection” meaning an action, conduct, or practice in

collecting, or in soliciting for collection, consumer debts that are due or alleged to be due to a

creditor.

         10.   Defendant is a “debt collector” meaning a person who directly or indirectly engages

in debt collection.

         11.   Defendant is a business located at 1431 Greenway Dr, Suite 143, Irving, Texas

75038.

                                    FACTUAL ALLEGATIONS
                                       TCPA VIOLATION

         12.   Plaintiff re-alleges and incorporates by reference paragraphs in this complaint as

though fully set forth herein.




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       13.      At a time and date, better known to Defendant, the Defendant started calling the

Plaintiff on her cellular telephone.

       14.      At a time and date, better known to Defendant, the Defendant started sending text

messages to the Plaintiff on her cellular telephone at 972-XXX-9347. (See Exhibit “A”).

       15.      Defendant used an automatic telephone system to call and text the Plaintiff’s

cellular telephone.

       16.      On several occasions when the Plaintiff answered her cellular telephone, she

encountered a silence for a few seconds and then the phone call automatically terminated, or there

was a clicking noise followed with a human being answering the call.

       17.      This is evidence of an automatic telephone system being used by the Defendant.

       18.      Plaintiff has asked Defendant to stop calling and texting her using an automated

telephone dialing system to her cellular telephone number.

       19.      However, Defendant continued to call and send text messages to the Plaintiff’s

cellular telephone from 844-366-1020 (See Exhibit “B”) using an automatic telephone dialing

system.

       20.      Defendant used a telephone dialing system to initiate and receive telephone calls.

       21.      Defendant used a telephone dialing system to call Plaintiff’s cellular telephone that

has the capacity to:

             (a) store telephone numbers;

             (b) call stored telephone numbers automatically;

             (c) call stored telephone numbers without human intervention;

             (d) call telephone numbers in sequential order;

             (e) call telephone numbers randomly;

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              (f) simultaneously call multiple consumers; or

              (g) call telephone numbers according to a strategy or protocol inputted by the

                 Defendant.

        22.      While Defendant called and text messaged Plaintiff’s cellular telephones,

Plaintiff’s cellular telephone lines were unavailable for legitimate use during the unwanted calls.

        23.      Defendant has acted willfully and intentionally in violating the TCPA.

        24.      Alternatively, the Defendant has acted negligently in violating the TCPA.

        25.      As a result of the above violation of the TCPA the Plaintiff has been injured and

harmed because the Defendant’s use of an automatic telephone system to call and sent text

messages to Plaintiff’s cellular telephone number without the Plaintiff’s consent has caused a

nuisance, an invasion of privacy, an intrusion of peace and tranquility, and harassment and abuse

upon the Plaintiff.

                                         TDCA VIOLATION

        26.      Plaintiff re-alleges and incorporates by reference paragraphs in this complaint as

though fully set forth herein.

        27.      The debt at issue is “consumer debt” meaning an obligation, or an alleged

obligation, primarily for personal, family, or household purposes and arising from a transaction

involving or alleged transaction.

        28.      Defendant continues to abuse Plaintiff by making repeated or continuous telephone

calls to Plaintiff’s cellular telephone with the intent to harass Plaintiff.

        29.      Defendant continues to abuse Plaintiff by sending repeated or continuous text

messages to Plaintiff’s cellular telephone with the intent to harass Plaintiff.




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       30.     As a result of the above violation of the TDCA the Plaintiff suffered, annoyance,

mental distress, and an invasion of her privacy. For these reasons and more, the Defendant is liable

to Plaintiff for actual damages, costs, and attorney’s fees.


                              COUNT I
   DEFENDANT VIOLATED THE TELEPHONE CONSUMER PROTECTION ACT
                        47 U.S.C. § 227 et seq.

       31.     Plaintiff re-alleges and incorporates by reference paragraphs in this complaint as

though fully set forth herein.

       32.     Defendant’s conduct violated the TCPA by placing non-emergency phone calls and

sending text messages to Plaintiff’s cellular telephone number using an automatic telephone

dialing system and/or prerecorded or artificial voice in violation of 47 U.S.C § 227(b)(1)(A)(iii).

       33.     Defendant did not have consent to call Plaintiff’s cellular telephones.

       34.     Alternative, if the Defendant had consent the Plaintiff revoked it.

       WHEREFORE, Plaintiff, requests that the Court enter judgment in favor of Plaintiff and

against Defendant for:

               (1)       Statutory damages of at least $500.00 per phone call and treble damages

                         pursuant to 47 U.S.C. §§ 227(b)(3)(B)&(C);

               (2)       Injunctive relief; and

               (3)       Such other or further relief as the Court deems proper.

                                     COUNT II
             DEFENDANT VIOLATED THE TEXAS DEBT COLLECTION ACT
                          Tex. Fin. Code Ann. § 292 et seq.

       35.     Plaintiff re-alleges and incorporates by reference paragraphs in this complaint as

though fully set forth herein.



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       36.     Defendant’s conduct violated the TDCA by harassing or abusing Plaintiff when

Defendant made repeated or continuous telephone calls and continuously sent text messages to

Plaintiff’s cellular telephone attempting to collect a debt that did not belong to the Plaintiff.

       WHEREFORE, Plaintiff, requests that the Court enter judgment in favor of Plaintiff and

against Defendant for:

               (1)       Injunctive relief;

               (2)       Actual damages;

               (3)       Reasonable attorney’s fees, litigation expenses and costs of the instant

                         suit; and

               (4)       Such other or further relief as the Court deems proper.

                                 DEMAND FOR TRIAL BY JURY
   37. Plaintiff requests a trial by jury on all issues and counts so triable, pursuant to Rule 38 of

       the Federal Rules of Civil Procedure.



DATED: April 16, 2019                              Respectfully Submitted,


                                                    SHAWN JAFFER LAW FIRM PLLC

                                                   /s/ Shawn Jaffer__             .
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